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                                  EXHIBIT A
                           REQUEST FOR PRODUCTION
1. Produce all information sufficient to identify of the operator and/or owner (the
   “Infringers”) of each of the servers, who uploaded, hosted, and/or contracted with other
   providers to host the infringing content identified in Exhibit A to the notices dated May 31,
   2022, by Sul Lee Law Firm, PLLC, on behalf of Nexon Korea Corporation (“Nexon”),
   requesting takedown of infringing Maple Story and Sudden Attack material (the
   “Copyrighted Material”) attached to this subpoena, from any and all sources, including but
   not limited to billing or administrative records that prove the following information used
   by each of the Infringers, along with a time-stamp, from the time of user registration and
   to date: name(s), last known address(es), last known telephone number(s), any and all email
   address(es), account number(s), and billing information (including, but not limited to,
   names, telephone number(s), and mailing and billing address(es) of each of all of the
   payment methods (including, but not limited to, credit cards, bank accounts, and any online
   payment systems)); hosting provider(s); server(s); any other contact information; and any
   and all logs of IP address(es).
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                                           June 23, 2022
Discord                                       VIA Email: copyright@discord.com
ATTN: DMCA Takedown Request
444 De Haro Street
Suite 200
San Francisco, California 94107
RE: Notice of Copyright Infringement; DMCA Takedown Notice
Dear Copyright Agent,
The undersigned firm represents Nexon Korea Corporation (“Nexon” or the “Copyright
Owner”), the developer of Sudden Attack, a free-to-play multiplayer shooter online game. We
hereby provide notice of copyright infringement pursuant to the terms of the Digital Millennium
Copyright Act (the “DMCA”) and Discord’s Copyright and IP Policy.
Nexon is the owner of the copyrights in the following work(s) (the “Work”):
   1. Sudden Attack
It has come to the Copyright Owner’s attention that your service located at the URLs as listed in
Exhibit 1(the “Service”) provides access to materials that infringe Copyright Owner’s copyright
in the Work. Exhibit 1, as attached hereto, provides a list of the products alleging copyright
infringement and the URLs at which the infringing material is accessible on the Service.
The use of the Work in any manner described in this letter is not authorized by the Copyright
Owner, any agent of the Owner, or any applicable law. As the duly authorized attorneys for the
Copyright Owner, we have a good faith basis to believe that all information contained in this
notification is accurate.
This letter shall serve as a request that you remove or disable access to the infringing materials as
set forth in Section 512(c)(1)(C) and Section 512(d)(3) of the Act and pursuant to your Copyright
and IP Policy. Please be advised that if you fail to remove the infringing material, you could be
contributorily liable for continuing to supply your services to one whom you know, or have
reason to know, is engaging in copyright infringement. See Metro-Goldwyn-Mayer Studios, Inc.
v. Grokster, Ltd., 545 U.S. 913 (2005); Sony Corp. v. Universal City Studios, Inc., 464 U.S. 417
(1984).
Please contact the undersigned no later than four days from the date of this letter to confirm that
the infringing materials have been removed or access disabled. The undersigned may be contacted
at the mailing address, telephone number, and email address set forth as follows:
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Name: Sul Lee Law Firm PLLC
Address: 3030 LBJ Fwy Ste. 220, Dallas, Texas 75234
Telephone: (214) 206-4064
Email: dwilliams@sulleelaw.com
                                  Sincerely,
                                  AGENT FOR NEXON KOREA CORPORATION
                                  Sul Lee Law Firm PLLC

                                  /s/ Dominique Williams
                                  Dominique Williams
                                  Associate Attorney
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                                        Exhibit 1

1. Server Name – Bravura FPS(https://bravurafps.com/)
2. Server ID – 812432327300874250
3. GM Account ID - 281103515399749632, 437373416899739678, 293798382877540352
4. Invite Code for Private Server - https://discord.com/invite/YxSxydxw7N
5. Donation – n/a
6. Infringing material
   a. URLs
      i.
                  https://discord.com/channels/812432327300874250/863121236041007104/96210
                  0551477248092
   b. Description
      i. It provides the download links of illegally hacked ‘Sudden Attack’
   c. Screenshot
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                                           June 23, 2022
Discord                                               VIA Email: copyright@discord.com
ATTN: DMCA Takedown Request
444 De Haro Street
Suite 200
San Francisco, California 94107

RE: Notice of Copyright Infringement; DMCA Takedown Notice
Dear Copyright Agent,
Our firm represents Nexon Korea Corporation (“Nexon” or the “Copyright Owner”), the
developer of Maple Story. We hereby provide notice of copyright infringement pursuant to the
terms of the Digital Millennium Copyright Act (the “DMCA”) and Discord’s Copyright and IP
Policy.
Nexon is the owner of the copyrights in the following work(s) (the “Work”):
   1. Maple Story
A copy of the registration is attached hereto as Exhibit A.
It has come to the Copyright Owner’s attention that your service located at the URLs as listed in
Exhibits 1-20 (the “Service”) provides access to materials that infringe Copyright Owner’s
copyright in the Work. Exhibits 1-20, as attached hereto, provides a list of the products alleging
copyright infringement and the URLs at which the infringing material is accessible on the Service.
The use of the Work in any manner described in this letter is not authorized by the Copyright
Owner, any agent of the Owner, or any applicable law. As the duly authorized attorneys for the
Copyright Owner, we have a good faith basis to believe that all information contained in this
notification is accurate.
This letter shall serve as a request that you remove or disable access to the infringing materials as
set forth in Section 512(c)(1)(C) and Section 512(d)(3) of the Act and pursuant to your Copyright
and IP Policy. Please be advised that if you fail to remove the infringing material, you could be
contributorily liable for continuing to supply your services to one whom you know, or have
reason to know, is engaging in copyright infringement. See Metro-Goldwyn-Mayer Studios, Inc.
v. Grokster, Ltd., 545 U.S. 913 (2005); Sony Corp. v. Universal City Studios, Inc., 464 U.S. 417
(1984).
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Please contact the undersigned no later than four days from the date of this letter to confirm that
the infringing materials have been removed or access disabled. The undersigned may be contacted
at the mailing address, telephone number, and email address set forth as follows:
Name: Sul Lee Law Firm PLLC
Address: 3030 LBJ Fwy Ste. 220, Dallas, Texas 75234
Telephone: (214) 206-4064
Email: dwilliams@sulleelaw.com
                                             Sincerely,
                                             AGENT FOR NEXON KOREA
                                             CORPORATION
                                             Sul Lee Law Firm PLLC


                                             /s/ Dominique Williams
                                             Dominique Williams
                                             Associate Attorney
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                                              Exhibit 1

1. Server Name – 라스트
2. Server ID - 948138216186347520
3. GM Account ID – 888088203310018631
4. Invite Code for Private Server - https://discord.com/invite/wgwrkGaHvG
5. Donation
   a. URLs
      i. https://discord.com/channels/948138216186347520/949258969686343690/949266938352250900
   b. Description
      i. 판매중인 아이템 게시 및 구매 방법 안내(Instructions on how to post and purchase items for sale)
  c. Screenshot
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6. Infringing material
   a. URLs
      i. https://discord.com/channels/948138216186347520/948533814844608512/952112881707663390
   b. Description
      i. It provides the files and the download links of illegally hacked ‘MapleStory’
   c. Screenshot
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                                              Exhibit 2

1. Server Name – 뭉뭉
2. Server ID - 969171078226247681
3. GM Account ID – 712654825883435030
4. Invite Code for Private Server - https://discord.com/invite/MUMTvwVxwj
5. Donation
   a. URLs
      i. https://discord.com/channels/969171078226247681/969174256158138388/971322321317011507
   b. Description
      i. 판매중인 아이템 게시 (Posting items for sale)
  c. Screenshot
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6. Infringing material
   a. URLs
      i. https://discord.com/channels/969171078226247681/969192396707487754/975869762666106920
   b. Description
      i. It provides the files and the download links of illegally hacked ‘MapleStory’
   c. Screenshot
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                                              Exhibit 3

1. Server Name – 메모리아
2. Server ID - 955686382813184020
3. GM Account ID – 955501347246051358
4. Invite Code for Private Server - https://discord.com/invite/uY2Cr2ygsc
5. Donation – n/a
6. Infringing material
   a. URLs
      i. https://discord.com/channels/955686382813184020/955706834503749674/973624756161118248
   b. Description
      i. It provides the files and the download links of illegally hacked ‘MapleStory’
   c. Screenshot
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                                                   Exhibit 4

1. Server Name – 벨로스
2. Server ID - 950275019513135134
3. GM Account ID – 950274352115511337
4. Invite Code for Private Server - https://discord.com/invite/HVP47CN47K
5. Donation
   a. URLs
       i. https://discord.com/channels/950275019513135134/958025703394246676/972827663225991228
   b. Description
       i. It provides the telegram link for offering the game’s items for sale in the name of donation.
   c. Screenshot
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6. Infringing material
   a. URLs
      i. https://discord.com/channels/950275019513135134/956763123539382272/973509653524791306
   b. Description
      i. It provides the files and the download links of illegally hacked ‘MapleStory’
   c. Screenshot
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                                              Exhibit 5

1. Server Name – 블라썸
2. Server ID - 956532305986465802
3. GM Account ID – 946365602644230144, 723311755056644199
4. Invite Code for Private Server - https://discord.com/invite/dFFHn8NUKs
5. Donation
   a. URLs
      i. https://discord.com/channels/956532305986465802/956556843314987018/965767771554193438
   b. Description
      i. 판매중인 아이템 게시(Posting items for sale)
  c. Screenshot
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6. Infringing material
   a. URLs
      i. https://discord.com/channels/956532305986465802/956555673875922964/969296886689329213
   b. Description
      i. It provides the files and the download links of illegally hacked ‘MapleStory’
   c. Screenshot
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                                              Exhibit 6

1. Server Name – 빅토리아
2. Server ID - 916852889115303987
3. GM Account ID – 828636903091601459
4. Invite Code for Private Server - https://discord.com/invite/9CUrMf473S
5. Donation – n/a
6. Infringing material
   a. URLs
      i. https://discord.com/channels/916852889115303987/918962005635891220/976432103501758514
   b. Description
      i. It provides the files and the download links of illegally hacked ‘MapleStory’
   c. Screenshot
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                                              Exhibit 7

1. Server Name – 샤인
2. Server ID - 968498879605669898
3. GM Account ID – 754437063050264628
4. Invite Code for Private Server - https://discord.com/invite/g559GVMD
5. Donation – n/a
6. Infringing material
   a. URLs
      i. https://discord.com/channels/968498879605669898/970260680961830994/975791190517645362
   b. Description
      i. It provides the files and the download links of illegally hacked ‘MapleStory’
   c. Screenshot
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                                              Exhibit 8

1. Server Name – 순정
2. Server ID - 966168823021592608
3. GM Account ID – 290342996942127104
4. Invite Code for Private Server - https://discord.com/invite/b3FvpAZxJa
5. Donation – n/a
6. Infringing material
   a. URLs
      i. https://discord.com/channels/966168823021592608/966169987561717792/972531975023894529
   b. Description
      i. It provides the files and the download links of illegally hacked ‘MapleStory’
   c. Screenshot
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                                              Exhibit 9

1. Server Name – 스위트문
2. Server ID - 958296282911346708
3. GM Account ID – 957519274983972865
4. Invite Code for Private Server - https://discord.com/invite/mMDHGg4VUg
5. Donation – n/a
6. Infringing material
   a. URLs
      i. https://discord.com/channels/958296282911346708/960097190351626240/970229135999893504
   b. Description
      i. It provides the files and the download links of illegally hacked ‘MapleStory’
   c. Screenshot
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                                              Exhibit 10

1. Server Name – 식물 키우기
2. Server ID - 928264107046608986
3. GM Account ID – 604147637339291668
4. Invite Code for Private Server - https://discord.com/invite/9fAxYX4mAs
5. Donation
   a. URLs
      i. https://discord.com/channels/928264107046608986/966283521633185803/966284529180495872
   b. Description
    i. 판매중인 아이템 게시 및 구매 방법 안내 (Instructions on how to post and purchase items for
      sale)
  c. Screenshot
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6. Infringing material
   a. URLs
      i. https://discord.com/channels/928264107046608986/936642845081739294/970279560379768842
   b. Description
      i. It provides the files and the download links of illegally hacked ‘MapleStory’
   c. Screenshot
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                                              Exhibit 11

1. Server Name – 아이리스
2. Server ID - 971955613582110851
3. GM Account ID – 760114811488698368
4. Invite Code for Private Server - https://discord.gg/yyDqeX2zXT
5. Donation – n/a
6. Infringing material
   a. URLs
      i. https://discord.com/channels/971955613582110851/971966898394779700/971991727533608980
   b. Description
      i. It provides the files and the download links of illegally hacked ‘MapleStory’
   c. Screenshot
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                                              Exhibit 12

1. Server Name – 에르넬
2. Server ID - 970316398435893388
3. GM Account ID – 970289340045459478
4. Invite Code for Private Server - https://discord.com/invite/bAdgjZsjZx
5. Donation
   a. URLs
      i. https://discord.com/channels/970316398435893388/974618776039464991/975066902948905061
   b. Description
      i. 판매중인 아이템 게시 및 구매 방법 안내 (Instructions on how to post and purchase items for sale)
  c. Screenshot
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6. Infringing material
   a. URLs
      i. https://discord.com/channels/970316398435893388/970333391713075271/974811177517449216
   b. Description
      i. It provides the files and the download links of illegally hacked ‘MapleStory’
   c. Screenshot
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                                              Exhibit 13

1. Server Name – 윙하트
2. Server ID - 952888048293662730
3. GM Account ID – 921909269438271548, 380357126213730316, 967519726769147974
4. Invite Code for Private Server - https://discord.com/invite/QQf5Ba3VQD
5. Donation
   a. URLs
      i. https://discord.com/channels/952888048293662730/954033551643390002/959159585384583170
   b. Description
      i. 판매중인 아이템 게시(Posting items for sale)
  c. Screenshot
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6. Infringing material
   a. URLs
      i. https://discord.com/channels/952888048293662730/952965572432363520/970995212652535848
   b. Description
      i. It provides the files and the download links of illegally hacked ‘MapleStory’
   c. Screenshot
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                                              Exhibit 14

1. Server Name – 참새월드
2. Server ID - 968382942084734997
3. GM Account ID – 958135794227376158
4. Invite Code for Private Server - https://discord.com/invite/XGzyC7G9
5. Donation
   a. URLs
      i. https://discord.com/channels/968382942084734997/968382942936190986/970686895929589790
   b. Description
      i. 후원 방법 안내 (How to sponsor)
  c. Screenshot
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6. Infringing material
   a. URLs
      i. https://discord.com/channels/968382942084734997/968382942755819566/975426648973410364
   b. Description
      i. It provides the files and the download links of illegally hacked ‘MapleStory’
   c. Screenshot
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                                              Exhibit 15

1. Server Name – 체리월드
2. Server ID - 943730778527903784
3. GM Account ID – 500328546971942912
4. Invite Code for Private Server - https://discord.com/invite/nhMdQNRnJH
5. Donation
   a. URLs
      i. https://discord.com/channels/943730778527903784/943738197190537286/975334897906499674
   b. Description
      i. 판매중인 아이템 게시(Posting items for sale)
  c. Screenshot
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6. Infringing material
   a. URLs
      i. https://discord.com/channels/943730778527903784/943731169390919690/974261815519346718
   b. Description
      i. It provides the files and the download links of illegally hacked ‘MapleStory’
   c. Screenshot
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                                              Exhibit 16

1. Server Name – 카인
2. Server ID - 824866577723293746
3. GM Account ID – 447789123592257546
4. Invite Code for Private Server - https://discord.com/invite/WjzS3E7G74
5. Donation – n/a
6. Infringing material
   a. URLs
      i. https://discord.com/channels/824866577723293746/963032245646549012/972518230990127154
   b. Description
      i. It provides the files and the download links of illegally hacked ‘MapleStory’
   c. Screenshot
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                                              Exhibit 17

1. Server Name – 해피니즈
2. Server ID – 964450008986447922
3. GM Account ID – 953656438645997588
4. Invite Code for Private Server - https://discord.com/invite/2pttqaRbBH
5. Donation
   a. URLs
      i. https://discord.com/channels/964450008986447922/964451082979909662/966932156557426778
   b. Description
      i. 후원 방법 안내(How to sponsor)
  c. Screenshot
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6. Infringing material
   a. URLs
      i. https://discord.com/channels/964450008986447922/964450272124469248/966988958577881130
   b. Description
      i. It provides the files and the download links of illegally hacked ‘MapleStory’
   c. Screenshot
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                                              Exhibit 18

1. Server Name – 헤라
2. Server ID - 965263889707200513
3. GM Account ID – 965266623818792972, 925281481562157067
4. Invite Code for Private Server - https://discord.com/invite/hytq3c62k4
5. Donation – n/a
6. Infringing material
   a. URLs
      i. https://discord.com/channels/965263889707200513/965265796672663622/976651105415073922
   b. Description
      i. It provides the files and the download links of illegally hacked ‘MapleStory’
   c. Screenshot
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                                             Exhibit 19

1. Server Name – MG2
2. Server ID - 761744581456822283
3. GM Account ID – 248777759382306816, 794433164964528149, 344947037705469955, 777407148862472202,
             225536719137669120, 593120458854105130, 743628535519772824
4. Invite Code for Private Server - https://discord.com/invite/RpYDDbu8eu
5. Donation – n/a
6. Infringing material
   a. URLs
      i. https://discord.com/channels/761744581456822283/942354769173938237/942355181323034644
   b. Description
      i. It provides the files and the download links of illegally hacked ‘MapleStory’
   c. Screenshot
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                                                  Exhibit 20

1. Server Name – 프리웨어
2. Server ID – 904378504731316245
3. GM Account ID – 939123778850529310, 215561698508144650
4. Invite Code - https://discord.gg/m5rqC9HXjv
5. Donation – n/a
6. Infringing material
   a. URLs
      i. https://discord.com/channels/904378504731316245/951314373798948864/974871223685226526
      ii.https://discord.com/channels/904378504731316245/974146009456328754/974257519448973312
   b. Description
    i. 해당 채널에서 해킹된 메이플스토리 클라이언트 파일을 공유토록 하고 있으며, 스크린샷은 현재
    공유되고 있는 메이플스토리 클라이언트 파일(The channel allows sharing of the hacked
    MapleStory client file, and the screenshot is the currently shared MapleStory client file)
         ii. 해당 채널에서 메이플스토리 사설서버 구축을 대행하고 비용을 받는 이들이 홍보글을 게시하고
          있음, 스크린샷은 현재 게시된 사설서버 개발자의 홍보글 (Those who take charge of building a
          MapleStory private server on the channel, the screenshot is of the currently posted promotional
          articles)
  c. Screenshot
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